    22-51323-mmp Doc#45 Filed 12/20/22 Entered 12/20/22 10:48:41 Main Document Pg 1 of 1
                                                                                                                               12/17122 3:37PM
Exhibit B-2 to Apipendbc 5005·• l'"'jil"
                                 ~ . 1 mg
                                          "b are-bones" petition,
                                                            . . matrix,
                                                                    . & 20 largest unsecured list.
                                                                                               .


                                                 United States Bankruptcy Court
                                                         Western District of Texas
 In re    Kuberlaxmi LLC (EIN XX-XXXXXXX)                                                        Kuberlaxml LLC        Case No. 22-51323
                                                                       Debtor(s)                   Chapter   _1_1_ _ _ _ _ _ _ __



                                 DECLARATION FOR ELECTRONIC FILING OF
                          BANKRUPTCY PETITION AND MASTER MAILING LIST (MA TRIX)
PART I: DECLARATION OF PETITIONER:

         As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation,
partnership, or limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of,
~e d_ebtor in accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically
m _th1s case. I have read the information provided in the petition and in the lists of creditors to be filed electronically in
this case and/ hereby declare under penalty ofperjury that the information provided therein, as well as the social
security information disclosed in this document, is true and correct. I understand that this Declaration is to be filed with
the Bankruptcy Court within five (5) business days after the petition and lists of creditors have been filed electronically. I
understand that a failure to file the signed original of this Declaration will result in the dismissal ofmy case.

         I hereby further declare under penalty of perjury that I have been authorized to file the AMENDED PETITION
         on behalf of the debtor in this case.

Date: Dec. 17 2022
                                                     -/s/ Jatin -Bhakta -----...i:t4~ t/ '.,,.,,,_
                                                                                                ~
                                                      Jatin Bhakta,   Manage

PART II: DECLARATION OF ATTORNEY:

        I declare under penalty ofperjury that: (1) I will give the debtor(s) a copy of all documents referenced by Part I
herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
with primarily consumer debts, that he or she may proceed under chapter 7, 11 , 12, or 13 of title 11, United States Code,
and have explained the relief available under each such chapter.


Date:       Dec. 17 2022                                                     /s/ Jeff Carruth
                                                                              Jeff Carruth 24001846, Attorney for Debtor
                                                                              3030 Matlock Rd. Suite 201
                                                                              Arlington, TX 76015
                                                                              (713) 341-1158 Fax:(866) 666-5322, jcarruth@wkpz.com




                                                                                                                   Adopted: December I, 2004
